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  1   I.    THE CLAIMS OF THE ’312 AND ’017 PATENT ARE NOT INVALID1
  2         Defendants argue that the asserted claims of the ’312 and ’017 patents are invalid
  3   for lack of written description and enablement. Defendants assert that the Court’s order
  4   on the motion for reconsideration construed “unit pixel” “to encompass one or more
  5   photodiodes” and “offers no bounds to how many photodiodes could be implemented”
  6   (Mot. at 3-4), and that the claims are invalid because the specification does not describe
  7   embodiments with pixels having more than one photodiode. Defendants are incorrect.
  8         The Court’s reconsideration order rejected Defendants’ attempt to narrow the
  9   claims to a single photodiode. (D.I. 438.) Defendants sought this narrow construction on
 10   summary judgment, contending no infringement because
 11                          . On reconsideration, the Court vacated its grant of summary
 12   judgment, holding that there was no basis to “‘necessitate’ departing from the general
 13   rule [in Baldwin] that ‘a’ means ‘one or more,’” and that “unit pixel” and “sensing pixel”
 14   “encompass one or more photodiodes.” (Id. at 4.)2 Because the issue was whether the
 15   claims are limited to a single photodiode for purposes of infringement, the holding does
 16   not construe the claims in the “unbounded” “one or more” fashion that Defendants
 17   assert, but rather vacates the prior construction that the claims are limited to a single
 18   photodiode—and, thus, that Defendants’ sensors do not infringe. In other words, that the
 19   claims “encompass one or more photodiodes,” as stated in the order, means that a unit
 20   pixel with two photodiodes can infringe. In any event, if “unit pixel” and “sensing pixel”
 21   were construed to include “one or more photodiodes,” the construction may be clarified
 22   as: “not limited to a single photodiode.” See CytoLogix Corp. v. Ventana Med., 424 F.3d
 23   1168, 1172 (Fed. Cir. 2005) (upholding claim construction at end of trial).
 24         Regardless, as Plaintiffs have previously explained, the specifications should not
 25   be read as narrowly as Defendants have advocated. It is well-established that “standing
 26
 27   1
       We have used the same section numbers as Defendants for each of their issues.
      2
        Defendants presented the same validity arguments in their prior opposition, (D.I. 398
 28   at 12), but the Court did not credit the arguments and ruled for Plaintiffs (D.I. 438).
                                                   1
      PLAINTIFFS’ OPPOSITION BRIEF TO NIKON DEFENDANTS’ MOTION FOR
                                          PARTIAL SUMMARY JUDGMENT
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  1   alone, a disclosure of a preferred or exemplary embodiment encompassing a singular
  2   element does not disclaim a plural embodiment.” KCJ Corp. v. Kinetic Concepts, Inc., 223
  3   F.3d 1351, 1356 (Fed. Cir. 2016). Yet Defendants once again urge a contrary rule—asking
  4   the Court to find that because the exemplary embodiments disclosed in the ’312/’017
  5   patents show a single photodiode, the claims fail under both written description and
  6   enablement. Having addressed this issue in deciding the reconsideration motion, the
  7   Court should reject Defendants’ attempt to re-argue this issue on summary judgment.
  8          In any event, Defendants’ motion must fail as to both written description and
  9   enablement because a skilled artisan would recognize the specifications to teach unit
 10   pixels containing one or more photodiodes. Both written description and enablement
 11   require reading the specification through the eyes of a skilled artisan. Written description
 12   asks “whether the disclosure of the application relied upon reasonably conveys to those
 13   skilled in the art that the inventor ha[d] possession of the claimed subject matter as of
 14   the filing date.” Synthes USA v. Spinal Kinetics, Inc., 734 F.3d 1332, 1341 (Fed. Cir. 2013).
 15   Enablement asks whether, “at the effective filing date of the patent, one of ordinary skill
 16   in the art could not practice their full scope without undue experimentation.” Wyeth &
 17   Cordis v. Abbott Labs., 720 F.3d 1380, 1384 (Fed. Cir. 2013).
 18          As explained below, it undisputed that the ’312 and ’017 patents satisfy written
 19   description and enablement when viewed through the skilled artisan’s eyes, warranting
 20   summary judgment for Plaintiffs. If Defendants’ unsupported ipse dixit assertions are
 21   credited, they raise genuine disputes of material fact precluding summary judgment.
 22                 The Specification Includes Adequate Written Description
 23          The claims do not recite pixels that have one or more photodiodes, but a “unit
 24   pixel” or “sensing pixel” that includes “a photodiode.” Because the patents include clear
 25   written description support for a pixel including “a photodiode,” the written description
 26   requirement is satisfied as a matter of law. [P7 (“P” are Plaintiffs’ statements of fact).]
 27          Even if “unit pixel” were construed to include “one or more photodiodes,”
 28   Defendants’ position is still erroneous. “It is well-settled that a patentee need not describe
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  1   in the specification every conceivable and possible future embodiment of his invention.”
  2   Dealertrack, Inc. v. Huber, 674 F.3d 1315, 1327 (Fed. Cir. 2012). Consistent with that
  3   fundamental principle, the Federal Circuit has repeatedly applied the construction “one
  4   or more” without concern for the lack of a numerical upper bound.3
  5           Here, a skilled artisan would have recognized that a pixel can include more than a
  6   single photodiode at least because such pixels were well-known at the priority date. [P1.]
  7   Plaintiffs’ expert, Dr. Subramanian, testifies that a skilled artisan would have understood
  8   that ’312/’017 inventor had knowledge of pixels having one or more photodiodes
  9   because such pixels were well known. [P5.] For example, U.S. Patent No. 6,731,335, also
 10   asserted here and which predates the ’312/’017 patents by several years, describes a unit
 11   pixel having two photodiodes [P2], the same number as Defendants’ sensors. Similarly, U.S.
 12   Patent No. 7,262,411, which also predates the patents and lists one of Defendants’
 13   experts (Dr. Kleinfelder) as the inventor, describes pixels having two and four photodiodes.
 14   [P3.] Indeed, Dr. Kleinfelder testified that a skilled artisan would understand the
 15   disclosure of a pixel to teach one or more photodiodes. [Id.] While Defendants’ other
 16   expert Mr. Butterworth opined that a skilled artisan would understand a pixel to consist
 17   of only one photodiode, he offered nothing but conclusory opinions. [P4]; Telemac Cellular
 18   v. Topp Telecom, 247 F.3d 1316, 1329 (Fed. Cir. 2001) (expert’s conclusory statements are
 19   not evidence). Indeed, Mr. Butterworth cited no evidence outside the patent to support
 20   his assertion, merely stating that “[i]n my opinion this is the only reasonable
 21   construction.” [P4.] Additionally, Mr. Butterworth did not even consider or cite Dr.
 22   Kleinfelder’s ’411 patent. [Id.] Therefore, Defendants fail to raise a genuine dispute of
 23   material fact, warranting summary judgment of written description for Plaintiffs.
 24                 The Specification Adequately Enables The Claimed Invention
 25
 26
       3
         See, e.g., TransPerfect Global, Inc. v. Matal, 703 Fed. Appx. 953, 957 (Fed. Cir. 2017) (“one
      or more hyperlinks”); WundaFormer, LLC v. Flex Studios, Inc., 680 Fed. Appx. 925, 931
 27   (Fed. Cir. 2017) (“one or more transverse members”); Convolve, Inc. v. Compaq Computer
      Corp., 812 F.3d 1313, 1321 (Fed. Cir. 2016) (“one or more processors”); SanDisk Corp. v.
 28   Kingston Tech. Co., 695 F.3d 1348, 1359-61 (Fed. Cir. 2012) (“one or more user data
      portions”); 01 Communique Lab., Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1296-97 (Fed. Cir.
      2012) (“one or more locator server computers”).
                                                     3
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 1          As stated above, enablement asks whether the skilled artisan at the filing date of
 2   the patent could practice the full scope of the invention without undue experimentation.
 3   Here, that is clearly the case, and summary judgment should be granted for Plaintiffs.
 4          First, as stated above, the claims recite a “unit pixel” comprising “a photodiode.”
 5   Such a configuration is disclosed in the specification. The Court’s conclusion on
 6   reconsideration that the claims are not limited to a single photodiode does not alter the
 7   fact that the specification enables the full scope of the claims. Second, even if the claims
 8   are construed to include “one or more photodiodes,” that too is enabled to the full scope
 9   of the claims. As Dr. Subramanian explains, a skilled artisan would have little difficulty
10   modifying the preferred embodiment to include one or more photodiodes based on his
11   or her knowledge that pixels often can and do include more than one photodiode. [P309.]
12   Neither Defendants nor their experts address this knowledge of a skilled artisan, and thus
13   cannot meet their burden of proving lack of enablement by clear and convincing
14   evidence. Monsanto Co. v. Scruggs, 459 F.3d 1328, 1338 (Fed. Cir. 2006) (affirming grant of
15   JMOL of no invalidity based on enablement where undisputed evidence showed
16   contested limitation was “well-known and well-documented”). Moreover, it is undisputed
17   that that designing image sensors is a predictable art, with skilled artisans being able to
18   know what the effect of the changes they make will be, and that prior art discloses pixels
19   with more than one photodiode. See In re Vaeck, 947 F.2d 488, 495 (Fed. Cir. 1991)
20   (noting that the required level of disclosure for an invention involving a “‘predictable’
21   factor such as a mechanical or electrical element” is lower). [P302-303, P310].4
22                Defendants’ Motion Must Be Denied at a Minimum Due to Genuine
                  Disputes of Material Fact
23
24          Written description is a question of fact. Ariad Pharm., Inc. v. Eli Lilly & Co., 598

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     4
       Defendants’ reliance on Magsil is misplaced. There, the Federal Circuit found lack of
     enablement based on an inventor’s attempt to capture technology that was undisputedly
27   developed only after the patent was filed. 687 F.3d at 1382 (noting that the “field of art
     has advanced vastly after the filing of the claimed invention”). Id. Here, there is no
28   question that using more than one photodiode was well known in the art long prior to
     filing of the patents, as discussed above.
                                                  4
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 1   F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). Although enablement is a question of law, it
 2   is based on underlying factual findings. Alcon, 745 F.3d at 1188.
 3          Here, even if the conclusory ipse dixit assertions of Defendants’ experts are
 4   credited—and as noted above they should not be—then the well-supported contrary
 5   opinions of Plaintiff’s experts give rise to genuine disputes of material fact that preclude
 6   summary judgment. See Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). This is
 7   especially true since all doubts regarding the evidence must be resolved in favor of the
 8   non-movant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).
 9          Specifically, Defendants’ motion contains the following conclusory statements
10   regarding the underlying factual inquiries for both written description and enablement:
11   Mot. at 4 (“a person of ordinary skill in the art would not consider that the named
12   inventor possessed the concept of a multi-photodiode structure at the time the ’017 and
13   ’312 Patents were filed.”) (citing Nikon expert report); id. at 5 (“A person of ordinary skill
14   in the art would need to first consider how to implement a unit pixel with multiple
15   photodiodes….”) (citing Nikon expert report); id. (“A person of ordinary skill in the art
16   would invariably need to perform undue experimentation to implement such a pixel
17   circuit….”) (citing Nikon expert report). As stated above, Plaintiffs’ expert offers
18   contrary opinions that undue experimentation would not be required to implement a
19   pixel with more than one photodiode, [P6], and the objective evidence from the ’335 and
20   ’411 patents demonstrates that a skilled artisan would have known that the “unit pixel”
21   could have included one or more photodiodes. Thus, even if Defendants’ conclusory
22   evidence were given weight, genuine disputes preclude summary judgment.
23   II.    DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT
            OF NO INFRINGEMENT AS TO THE ’574 PATENT
24
            The Court has already held in the related 3221 case that the specification of the
25
     ’312 and ’017 patents, which is the same as that of the ‘574 patent, does not limit or
26
     otherwise necessitate an interpretation of the invention that is confined to a single
27
     photodiode per pixel. (D.I. 438 at 4.) That is law of the case that should resolve the issue
28
     as well for the ‘574 patent, given the rule set forth in Baldwin Graphic Sys. v. Siebert, Inc.,
                                                   5
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 1   512 F.3d 1338 (Fed. Cir. 2008). Defendants erroneously assert that the Court reached
 2   that conclusion “specifically because of the open-ended claim language that recites ‘each
 3   unit pixel comprising: a photodiode’” (Mot. at 6), and that “[b]ecause the ‘574 claims do
 4   not recite any pertinent open-ended claim language regarding the photodiodes” (id.), the
 5   ’574 claims should be limited to only a single photodiode per pixel. Defendants are
 6   incorrect on both the facts and the law. As to the facts, all of the independent claims of
 7   the ‘574 patent include the open-ended term “comprising” in the preamble. As to the
 8   law, the Court’s conclusion followed from the Federal Circuit’s holding in Baldwin that
 9   “a” must be interpreted as “one or more” unless the patentee has evinced a “clear intent”
10   to limit “a” to “one.” (D.I. 438 at 2-3.) The claims in Baldwin, as in the ’574 patent, used
11   the term “comprising” in the preamble,5 id. at 1340, and the court’s decision there placed
12   no significance whatsoever on whether this open-ended term is found in the preamble
13   or the body of the claim: “[t]his court has repeatedly emphasized that an indefinite article
14   ‘a’ or ‘an’s in patent parlance carries the meaning of ‘one or more’s in open-ended claims
15   containing the transitional phrase ‘comprising.’” KCJ Corp. v. Kinetic Concepts, Inc., 223 F.3d
16   1351, 1356 (Fed.Cir.2000). “That ‘a’ or ‘an’ can mean ‘one or more’ is best described as
17   a rule, rather than merely as a presumption or even a convention.” Baldwin, 512 F.3d at
18   1342. Likewise, nor can Defendants’ fairly contend that this Court’s order rested on
19   where in the ‘312 and ‘017 claims the term “comprising” was found. (D.I. 438 at 2-4.)
20          Defendants’ argument is also misleading with respect to claims 1-16 and 30-31 of
21   the ’574 patent because those claims do not even recite photodiodes, so it would be
22   incongruous to limit them a specific number of photodiodes. It would be improper to
23   import any photodiode requirement into the claims, let alone a requirement that the pixels
24   have exactly one photodiode. Liebel-Flarsheim Co. v. Medrad, 358 F.3d 898, 913 (Fed. Cir.
25   2004) (stating it is improper to read limitations into claims from even the only
26   embodiment absent a clear intrinsic indication to the contrary).
27
28   5
      The term appeared only in the preamble in claim 14, and in both the preamble and the
     body in claim 1, and the Federal Circuit did not distinguish between them.
                                                   6
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 1          As to the claims that do recite a photodiode (independent claim 17, dependent
 2   claim 18, and independent claim 24), they all recite the step of transferring a photocharge
 3   from “a photodiode.” In the absence of language expressing a clear intent to deviate from
 4   its commonly-understood meaning (and Defendants identify none), it follows from
 5   Baldwin that “a photodiode” must be interpreted as “one or more photodiodes.”
 6          Defendants are incorrect in their assertion that the pixel terms should be limited
 7   to a single photodiode per pixel because that is the preferred embodiment in the
 8   specification. (Mot. at 6-7.) The absence of any discussion in the patents of multiple
 9   photodiodes or nodes per pixel does not manifest any intent whatsoever on the numerical
10   issue, let alone the requisite “clear intent” to limit those features in the claims to “one
11   and only one.” See 01 Communique, 687 F.3d at 1297 (stating that ambiguity in the
12   specification is not clear intent to overcome general rule that “a” means “one or more”).
13   The patent simply places no significance on the number of photodiodes per unit pixel.
14   “[S]tanding alone, a disclosure of a preferred or exemplary embodiment encompassing a
15   singular element does not disclaim a plural embodiment.” KCJ Corp., 223 F.3d at 1356.
16          Accordingly, the asserted claims of the ’574 patent should not be limited to a single
17   photodiode, which moots Defendants’ contention that the accused cameras do not
18   infringe. [D308.] Moreover, Defendants’ argument that construing the ’574 patent’s pixel
19   terms to include one or more photodiodes would render the claims invalid (Mot. at 7) is
20   also flawed for the same reasons discussed in Section I, supra.
21   III.   DEFENDANTS’ PROPOSED CLAIM CONSTRUCTION FOR THE
            ’335 PATENT SHOULD BE REJECTED
22
            Defendants attempt to narrow the ’335 claims regarding the order and overlap of
23
     the method steps and the preamble. Defendants are incorrect on both issues.
24
            Order and Overlap of Steps: Defendants’ argument that the steps 1(a)–(f) of the
25
     ’335 Patent must “be performed in [] order” (Mot. 8), fails to confront the substance of
26
     the parties’ actual dispute. Steps 1(a)–(f) are time intervals rather than instantaneous
27
     events, and the real dispute is whether these intervals can overlap (Plaintiffs’ position) or
28
     not (Defendants’). As an example, the issue is whether the photodiode circuitry can
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 1   precedent requires that the alleged disavowing actions or statements made during
 2   prosecution be both clear and unmistakable.” Avid Tech., Inc. v. Harmonic, Inc., 812 F.3d
 3   1040, 1045 (Fed. Cir. 2016). First, there is no disclaimer whatsoever relating to the order
 4   of steps because the applicant did not distinguish the Guidash reference on that ground.
 5   [Resp. to D21.] Rather, the applicant argued that Guidash did not perform steps (d) and
 6   (f) at all. Id. The applicant argued that steps (d) and (f) recite “turning on the first[/second]
 7   transfer transistor with said reset transistor remaining off,” whereas in Guidash, “when the
 8   first[/second] transfer gate is pulsed on, the reset gate is also on.” [Resp. to D21.] Second,
 9   the language Nikon cites simply describes the order that steps are recited in the claim,
10   and is not in any way a disclaimer of them overlapping. [Resp. to D20; see also D19.]
11          Whether preamble is limiting: Plaintiffs agree that the specific preamble language
12   discussed in Defendants’ summary judgment motion is limiting, 6 although, as explained
13   below, they are not entitled to summary judgment of noninfringement. However,
14   Defendants overreach by asserting that the entire preamble is limiting. For instance,
15   “statements of intended use or asserted benefits in the preamble [only] … limit … claims
16   … if the applicant clearly and unmistakably relied on those uses or benefits to distinguish
17   prior art.” Catalina Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 809 (Fed. Cir. 2002).
18   Because Defendants do not even attempt to explain why the bulk of the preamble should
19   be limiting (Mot. at 9), the entire preamble should not be deemed limiting.
20   IV.    DEFENDANTS ARE NOT ENTITLED TO PARTIAL SUMMARY
            JUDGMENT OF NO INFRINGEMENT OF THE ’335 PATENT
21
            Defendants’ noninfringement argument is based on errors of law and fact. As
22
     discussed, claim 1’s preamble requires a “reset transistor coupled between a power supply
23
     and the single sensing node” [P1]. Defendants first argue that a few accused cameras do
24
     not satisfy this because their reset transistor is connected indirectly to the sensing node,
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       Specifically, a “reset transistor coupled between a power supply and the single sensing
     node for outputting the photoelectric charges stored in the single sensing node, in []
28   response to a third control signal.”

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 1   reset transistor is not directly connected to the sensing node, it only “transfer[s] charges
 2   to the neighboring transistor” and not to the sensing node itself. (Mot. at 10, 12.) In other
 3   words, Defendants again argue that the “output” of the reset transistor must go directly
 4   to the sensing node without passing through an intermediate transistor. This argument
 5   fails. As a matter of law, “outputting” does not require a direct transfer of charge to the
 6   sensing node. On the contrary, the specification again expressly uses the word “output”
 7   to include indirect transmission through an intermediate transistor. It states that the
 8   “single sensing node [] selectively receiv[es] the photo charges outputted from the photodiodes”
 9   [P12], and further discloses that this outputting can be indirect through intermediate
10   transistors. As seen in FIG. 4 (reproduced above), there is a transistor on the path
11   between the photodiodes and the sensing node. [P12]9
12          Moreover, as a matter of fact, the output of the reset transistor is in effect directly
13   transferred to the sensing node, since
14                                                                    . [P13]. Thus, at all relevant
15   times, these intermediate transistors
16
17          Lastly, even on Defendants’ incorrect constructions, summary judgment would be
18   foreclosed by genuine factual disputes infringement under the doctrine of equivalents.
19   “Infringement under the doctrine of equivalents is a question of fact ….” Intendis GMBH
20   v. Glenmark Pharms. Inc., 822 F. 3d 1355, 1360-61 (Fed. Cir. 2016). Here, Plaintiffs’ expert,
21   Dr. Carley, has explained that, even under Defendants’ incorrect constructions, the
22   indirect connection between the reset transistor and the sensing node is not substantially
23   different from a direct connection. [P14] These approaches perform substantially the
24   same function (connect or disconnect the power supply to the sensing node as needed)
25   in substantially the same way (transistors act as a switch to make or break the electrical
26
27   9
      Further, the claim language Defendants rely on does not say that the reset transistor
     outputs “to” the sensing node in any case, but rather that it is “for outputting the
28   photoelectric charges stored in the single sensing node” [P1]—i.e. that is purpose is to help
     with the output of the sensing node.
                                                   11
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13         Defendants’ other argument raises a genuine dispute of material fact.
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25   VI.   DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT
           REGARDING THE ’163 PATENT
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           Defendants’ summary judgment motion for the ’163 patent should be denied as it
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     relies on two genuine disputes of material fact on which a jury may find for Plaintiffs:
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 1   said correlation image” is met.
 2                 Defendants Are Not Entitled to Summary Judgment on Claim 15
 3          Defendants contend that the accused cameras do not meet claim 15 for the same
 4   two reasons as claim 1. (Mot. at 20.)15 More specifically, even though claim 15 does not
 5   recite these two limitations, Defendants contend that the “first filtering means” should
 6   be construed to include structure that incorporates the “correlation image” and “based
 7   on detecting a local maximum.” Even assuming arguendo that this element should be
 8   construed as means-plus-function having such structure, which as shown below it should
 9   not be, for the reasons stated above, the accused cameras satisfy these limitations, or at
10   least there are genuine disputes of material fact that preclude summary judgment.16
11                 Defendants’ Proposed Claim Construction Lacks Merit
12          The Court need not construe any claim to deny Defendants’ motion. However, if
13   it does construe “first filtering means” position, it should adopt Plaintiffs’ construction.
14          Plaintiffs have overcome the presumption that a claim element reciting “means”
15   is governed by § 112(6). Both parties agree “first filtering means” describes an algorithm.
16   [P141.] Here, the claim itself recites the structure of that algorithm. [P142.] As such, the
17   term should not be construed under § 112(6). TI Group Auto. Sys, v. VDO N. Am., 375
18   F.3d 1126, 1135 (Fed. Cir. 2004) ( “pumping means” not § 112(6) because claim recited
19   the structure, location, and operation); TecSec, Inc. v. IBM Corp., 731 F.3d 1336, 1347 (Fed.
20   Cir. 2013) (similar); Skky, Inc. v. Mindgeek 859 F.3d 1014 (Fed. Cir. 2017) (similar).
21
      15
          Though Nikon purports to move only under its own claim construction of “first
22   filtering means,” Nikon does not identify any allegedly missing structure, and Nikon has
23   not shown it is entitled to summary judgment under any proffered construction.
       16
          Defendants are also wrong that prosecution history estoppel applies to claim 15. (Mot.
24   at 20.) Defendants contend that “first filtering means” should be construed to include
     “the added limitations of amended claim 1,” and that prosecution history estoppel applies
25   to claim 15 as it does to claim 1. (Id.). First, as described above, prosecution history
26   estoppel is irrelevant because the issue is literal infringement. Second, Defendants
     incorrectly imply that structural components of a means-plus-function element are
27   limitations. Odetics, Inc. v. Storage Tech., 185 F.3d 1259, 1268 (Fed. Cir. 1999). The question
     is whether the overall structure, not components of the structure, is satisfied exactly or
28   equivalently under § 112(6), see id., and Defendants’ attempt to isolate components of
     their proposed structure and apply prosecution history estoppel is legally erroneous.
                                                   19
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 1           However, if the Court concludes that § 112(6) applies, Defendants’ proposed
 2   structure is far too narrow. “[A] court may not import into the claim features that are
 3   unnecessary to perform the claimed function. Features that do not perform the recited
 4   function do not constitute corresponding structure and thus do not serve as claim
 5   limitations.” Northrop Grumman Corp. v. Intel Corp., 325 F.3d 1346, 1352 (Fed. Cir. 2003);
 6   Micro Chem. v. Great Plains Chem., 194 F.3d 1250, 1258 (Fed. Cir. 1999).
 7           Here, Plaintiffs have proposed a structure of “linear matched filter.” [P143] This is
 8   sufficient structure drawn from the specification, e.g., ’163 at 2:35, 7:10, to perform the
 9   functions alternatively identified by the parties. [P144-P158.] Nikon’s proposed structure,
10   which covers twenty-two lines of the specification [P159] represents improper “structural
11   limitations from the written description that are unnecessary to perform the claimed
12   function.” Alfred E. Mann Found. v. Cochlear Corp., 2012 WL 12877984, at *7 (C.D. Cal. June
13   18, 2012) (quotations omitted). [P161-P163.]17 In the alternative that the Court looks to
14   Nikon’s structure, the minimal language there is “a linear matched filter [that] includes a
15   linear-convolution step and a decision step.” ’163 7:12-13. [P164.]
16           The Court should find that the claim term is not governed by § 112(6) or in the
17   alternative, adopt Plaintiffs’ structure for the “first filtering means…” element as “linear
18   matched filter” and reject Nikon’s overly limiting structure.18
19   VII. CONCLUSION
20           Defendants’ request for summary judgment should be denied on all issues, and
21   summary judgment entered for Plaintiffs on written description, enablement, and license.
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     17
        For example, although the function identified by Defendants is “identifying a plurality
     of image regions …” and “correlate said image …,” Defendants propose limiting
24   structure that is not necessary to perform this function, such as quoting one (of several)
     embodiments of a “processing module 54 [that] is configured such that only regions that
25   contain a local maximum in the correlation image and have pixel correlation values that
26   are greater than a fixed threshold value T, are selected.” [P159-P163.]
     18
        Defendants also raise “second filtering means” without identifying a relevant dispute.
27   In particular, Defendants’ proposed structure does not recite either the “correlation
     image” or the “identifying…” language at issue in their motion. Their proposed structure
28   is so narrow as to be an error of law, involving, e.g., the “expected positions of the eyes
     of a human face” that have nothing to do with the function. [P165-P170.]
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 1   Dated: August 31, 2018   FISH & RICHARDSON P.C.
 2
                              By: /s/ Christopher S. Marchese
 3
 4                                Christopher S. Marchese (SBN 170239)
                                  marchese@fr.com
 5                                FISH & RICHARDSON P.C.
 6                                633 West Fifth Street, 26th Floor
                                  Los Angeles, CA 90071
 7
                                  Tel: (213) 533-4240, Fax: (858) 678-5099
 8
 9                                Frank Scherkenbach (SBN 142549)
                                  scherkenbach@fr.com
10                                Kurt L. Glitzenstein (Admitted Pro Hac Vice)
11                                glitzenstein@fr.com
                                  Proshanto Mukherji (Admitted Pro Hac Vice)
12                                mukherji@fr.com
13                                Jeffrey Shneidman (Admitted Pro Hac Vice)
                                  shneidman@fr.com
14                                Elizabeth G.H. Ranks (Admitted Pro Hac Vice),
15                                ranks@fr.com
                                  FISH & RICHARDSON P.C.
16                                One Marina Park Drive
17                                Boston, MA 02210-1878
                                  Tel: (617) 542-5070, Fax: (617) 542-8906
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 1                                Olga I. May (SBN 232012)
                                  omay@fr.com
 2
                                  Markus D. Weyde (SBN 285956) weyde@fr.com
 3                                K. Nicole Williams (SBN 291900)
 4                                nwilliams@fr.com
                                  Jared A. Smith (SBN 306576)
 5                                jasmith@fr.com
 6                                Oliver J. Richards (SBN 310972)
                                  orichards@fr.com
 7                                FISH & RICHARDSON P.C.
 8                                12390 El Camino Real
                                  San Diego, CA 92130
 9                                Tel: (858) 678-5070, Fax: (858) 678-5099
10
                                  Jennifer Huang (Admitted Pro Hac Vice)
11                                jhuang@fr.com
12                                FISH & RICHARDSON P.C.
                                  60 South Sixth Street, Suite 3200
13                                Minneapolis, MN 55402
14                                Tel: (612) 335-5070, Fax: (612) 288-9696

15                                Andrew R. Kopsidas (Admitted Pro Hac Vice)
16                                kopsidas@fr.com
                                  FISH & RICHARDSON P.C.
17                                1000 Maine Avenue, S.W., Ste. 1000 Floor
18                                Washington, DC 20005
                                  Tel: (202) 783-5070, Fax: (202) 783-2331
19
20                                Attorneys for Plaintiffs, CARL ZEISS AG and
                                  ASML NETHERLANDS B.V.
21
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 1                               CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on August 31, 2018, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7
 8                                           /s/ Christopher S. Marchese
                                             Christopher S. Marchese
 9                                           marchese@fr.com
10
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